* Original Instrument *

¢¢'=-1
§ § i~_ ~z:s ..t_x\

Notice to Plincipal is Notice to Agent

Notice to Agent is Notice to Principal
reference;

inn nttz\ P 3=113

“UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF TENNESSEE

'i s. n\simci c:_n_'-t\,z;`il
§ n

AT KNonILLE ma msi f';:-\~.,
UNITED STATES OF AMERICA ) Reference Nurnber:
Plaintiff ) No. 3:17-CR-82 and all associated numbers
v. ) VARLAN/SHIRLEY,
) USDJ/USMJ»
RANDALL KEITH BEANE )
Defendant )

75

DECLARATION ADOPTING FILlNGS
With full responsibility, accountability and liability, without prejudice, nunc pro tunc
praeterea preterea, l duly declare, validate and verify with original sworn signature and seal
that l am competent to make this declaration, for all to rely upon. l duly, declare, certify,
verify and validate as follows:

I. Rej ection without dishonour for due cause of Heather Ann-Tucci Jarraf , with filing
date '2017-11-30‘ and with reference of ‘Doc. # 64', restated in entirety;

II. Rejection without dishonour for due cause of Heather Ann-Tucci Jarraf , With filing
date '2017-11-30‘ and with reference of ‘Doc. # 65', restated in entirety;

III. DECLARATION OF RECEIPT, NO RECEIPT, AND SERVICE of Heather Ann-
Tucci Jarraf , with date of ‘12-1-17' and with reference of ‘Doc. # 66', restated in entirety;

Articles I, II and III above, restated and incorporated in entirety by reference as if set forth
in full, and all said records and documents are duly declared:

A. Adopted in entirety;
B. Restated in entirety;

I duly re-certify, verify and validate with my full responsibility, accountability and liability
that the foregoing is true_, accurate and complete, for all to rely upon.

Pg. l of»l

 

Case 3:17-cr-00082-TAV-DCP Document 72 Filed 12/21/17 Page 1 of 2 Page|D #: 3018

Certif"icate of Service

I certify, that on 02/ December 2017 this original instrument was caused to be
delivered by personal service to alleged Clerk of Court, and duly scanned, with certified
copy out. Fuithermore a scan of this original instrument was caused to be filed and
entered electronically Notice of this filing Will be sent by operation of the alleged
Court's electronic filing system to all alleged parties indicated on the electronic filing
receipt. Alleged parties may access this filing through the alleged Court's electronic
filing system.

oaginai near g.\/"¢.;._z@/ 7
' ":Yazc’w\zcé.

 

 

Pg-l afl Original bé§»_»_:z/.L~VFZ..¢>`_:I?

 

Case 3:17-cr-00082-TAV-DCP Document 72 Filed 12/21/17 Page 2 of '2 Page|D #: 3019

